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                     EXHIBIT I
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• URGENT                                                                    URGENT
                       HEALTH CARE FINANCING ADMiNISTRATION
               DIVISION OF CORRESPONDENCE CONTROL AND MANAGEMENT

                                         CLEARANCE SHEET


        TO: OL, OOC, OCSQ, CMSO, Press Office                         DATE: June14, 2000


       SUBJECT: Medicare Avage Wholesale Price (AWl)) for Drag Piicing-DECISION

       CLEARANCEICOMMENTS DUE:                   NO LATER THAN COB TODAY                -   Eune 14

       Note.’ To betterfacilitate the dearanceproces.v DCCM will make all edizoriaiAechnkal
       changes. Pkosefocuryour review on substantive comments.

       CONTROL NUMBER:

       COMPONENT CONTACT1YBONE NO;                       CHPP Bob Niernaxm 786-4569
                                                               -               -




       ALTERNATE CONTACTIPHONE NO;

       I CONC1ERINONCONCUR

       DATE:

       SPECIAL INSTRUCTIONS:              URGENT MUST BE CLEARED BY COB
                                                     -


                                          TODAY.


       FROM: Glenda Bailey                Phone: 410-786-6538               Fax: 410-786-5267
                                                                            Email GbailcyI
                                                                                    -




       If we have not received a response by the due date, or an explanation for your delay, the
       correspondence will be forwarded for the Administrator’s approval without your input.
       Straight concurrences can be phoned in to your DCCM desk officeT.




                                                                                                       HHD34O-0001   F
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                                                                                     Director
                                                                       Center for Health Plans and Providers



                J4I40
TO:           The Administrator
THRU:         The Deputy Mministraxor

PROM:          Director
               Center for Health Plans and Providers

SUBJECT:      Medicare Average Wholesale Ptior (AWP) for Drig Pncing—DECISIOL(

DACKN1

For drugs covered under Mediate, the statute sets payment at 95 percent of the AWP. However,
neither the statute regulations, nor manual instructions define AWP. Our current pcogram
instructions indicate that caniers should use the Red Book, Blue Book or Medispan in their
detenninations of the AWP. All carriers except one (Texas) use the hardcopy Red Book.

The United States Department of Justice (DOJ). theHHS Office of Inspector General and the
National Association of Medicaid Fraud Control Units (NAMFCU) have brought to our attention
a source of average wholesale price (AWP) data for certain drugs that is more accurate than what
has been available to date. ‘these data have been compiled at the DOJ for about 400 national
drug codes (ZIDC) representing about 50 different chemical compounds. Most, but not all, of
these drugs are eligible for Medicare coverage.

Through action by the National Association ofMedicaid Fraud Units (NAMFCU) and theJustice
Department (DOJ). effective May 1,2000, State Medicaid programs have used a new kind of
AWP for a list of about 400. national drug codes CNDC) representing 51 chemical compovnd&
These new AWPs are based on prices acbially advertised by drug wholesalers (e.g., McKesson).
The Administration has committed to Bliley (and others) to use these data for Medicare as well,
andtoissueaninstnictionthismonth. Tothatend,wehavcprdaprogrammcmorandum
(PM) that sends these data to the cartiers and strongly urges their use. Two related issues remain.

ISSuE t:
                                         REDACTED

OPTiONS:
                                         REDACTED




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  Page2- The Adzniiistrator

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  B.




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  REcOMMENDA’flON
       REDACTED
  SSUE2:
                              REDACTED

       iONS:
                                 REDACTED
  B.



  XMMENDATION:
                              RE DACTE D



                              Robert A Bereason, M.D.




                                                               H H D340-0003
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Page 3 The Administrator
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DECISION:

ISSUE 1;                            REDACTED


OPTION A;

Approved_______            DisapprQved_______   Date

OPTION B:

Approved_______            Disapproved______    Date

OPTION C:

Approved_______            Disapproved______    Date______


ISS1E2:                              REDACTED


OPTION A:

Approved_______            Disapproved______    Date______

OPTION B:

Approved                   Disapproved______    Date______




                                                             HHD34O-0004   L
